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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

                                     CIVIL CASE NO.: 1:21-CV-21079-Bloom

 SECURITIES AND EXCHANGE COMMISSION,

         Plaintiff,

 v.

 MINTBROKER INTERNATIONAL, LTD.,
 f/k/a SWISS AMERICA SECURITIES LTD.
 and d/b/a SURETRADER, and
 GUY GENTILE, a/k/a GUY GENTILE NIGRO,

        Defendants.
 ___________________________________________/

                                     SUMMONS IN A CIVIL ACTION
                                      SERVICE BY PUBLICATION

 To (Defendant’s Name):            GUY GENTILE A/K/A GUY GENTILE NIGRO
                                   103 Ave. de Diego, Apt. S-2202, San Juan, PR 00911

         Plaintiff has filed a lawsuit against you alleging that you violated U.S. securities laws.

         Pursuant to the Order authorizing service of process by publication entered on September 24, 2021,
 by the Honorable Beth Bloom, United States District Judge [Docket Entry 13], you are SUMMONED to
 answer the Complaint filed herein no later than twenty-one (21) days after publication of this Summons, by
 serving and filing the original answer or a motion under Rule 12 of the Federal Rules of Civil Procedure, with
 the United States District Court for the Southern District of Florida, and serving a copy on counsel for plaintiff:
 Alice K. Sum, Esq., Securities and Exchange Commission, 801 Brickell Avenue, Suite 1950, Miami, FL
 33131, service e-mail: sumal@sec.gov, telephone: 305-982-6300.

          This Summons shall be published by edict only once in a newspaper of general circulation in the Island
 of Puerto Rico. Within ten (10) days following publication of this Summons, a copy of this Summons and the
 Complaint will be sent to defendant GUY GENTILE A/K/A GUY GENTILE NIGRO by certified mail/return
 receipt requested, addressed to his last known address.

        Should you fail to answer the Complaint as ordered by the Court and notified by this Summons, the
 Court will proceed to hear and adjudicate this case against you based on the relief demanded in the Complaint.

          BY ORDER OF THE COURT, this Summons is issued pursuant to Fed. R. Civ. P. 4(e) and Rule
 4.5 of the Rules of Civil Procedure for the Commonwealth of Puerto Rico.

 CLERK OF COURT


 Date:
                                                             Signature of Clerk or Deputy Clerk
